                               UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION



UNITED STATES OF AMERICA,                   )
                                            )
              Plaintiff,                    )
                                            )      CIVIL NO. 3:10cr00247
              v.                            )
                                            )      JUDGE TRAUGER
                                            )
[1] THOMAS SCHROEDER,                       )
[2] JESSICA POTTS                           )
                                            )
              Defendant.                    )

                                ORDER OF ABANDONMENT

       Upon good cause shown, the 2007 white Dodge pick-up truck with TN tags 161XWC, VIN

1D7HA16P47J580521 which has been abandoned by Jessica Potts and Thomas Schroeder is

hereby abandoned to the United States Government for further disposition in accordance with law.

                    16thday of ____________________,
IT SO ORDERED this ____         December             2013.


                                            _____________________________
                                            ALETA A. TRAUGER
                                            United States District Court Judge




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